  Case 1:20-cr-00136-JMS Document 1 Filed 12/16/20 Page 1 of 2           PageID.1


 ORlG\~11\L                    SEAL-ED                                       FILED INTHE
                                                                    UNITED STATES DISTRICT COl,IBJ"
                                                                         DISTRICT OF HAWAII JU
                                                                      Dec 16, 2020, 2:12 pm
                          BY ORDER OF lHE COURT                     Michelle Rynne, Clerk of Court

KENn M. PRICE # 10523                    ERIC S. DREIBAND
United States Attorney                   Assistant Attorney General
District of Hawaii                       Civil Rights Division

CHRIS THOMAS #3514                        CHRISTOPHER J. PERRAS
Assistant U.S. Attorney                   Special Litigation Counsel
Room 6-100, PJKK Federal Bldg.            TARA ALLISON
300 Ala Moana Boulevard                  Trial Attorney
Honolulu, Hawaii 96850                    950 Pennsylvania A venue, NW
Telephone: (808) 440-9249               · Washington, DC 20530
Facsimile: (808) 541-2958                 Telephone: (202) 307-6962
Email: Chris.Thomas@usdoj.gov            !Facsimile: (202) 514-6588
                                          Email: Christopher.Perras@usdoj.gov
                                                Tara.Allison@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES-DISTRICT COURT                                                   "'··~



                       FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,           )   CR. NO. 20-00136 JMS
                                    )
                  Plaintiff,        )   INDICTMENT
                                    )
      VS.                           )   [18 U.S.C. § 249]
                              )
KAULANA ALO KAONOHI, and (01) )
LEVI A.Kl, JR.           (02) )
                                    )
                  Defendants.       )


                                INDICTMENT

The Grand Jury charges:
  Case 1:20-cr-00136-JMS Document 1 Filed 12/16/20 Page 2 of 2                PageID.2




                                          Count 1
                                        Hate Crime
                                     (18 U.S.C. § 249)

           On or about February 13, 2014, in the District of Hawaii, Defendants

KAULANA ALO KAONOHI and LEVI AKI, JR., while aiding and abetting one

another, willfully caused bodily injury to C.K., and attempted to cause bodily

injury to C.K. through the use of a dangerous weapon (a shovel), because of C.K. 's

actual and perceived race and color.

          All in violation of Title 18, United States Code, Section 249.

          DATED: December 16, 2020, at Honolulu, Hawaii.


                                                 A TRUE BILL

                                                 /s/ Foreperson

                                                 FOREPERSON, GRAND JURY



KENTI M. PRICE                                   ERIC S. DREIBAND Assistant
United,§1at~                                     Attorney General Civil Rights
District of Hawaii '                             Division
 <·-----·. . . "·--··-;,""•''-·




                                                 CHRISTOPHERJ.PERRAS
                                                 Special Litigation Counsel



United States v. Kaonohi, et al.                TARA ALLISON
Indictment                                      Trial Attorney
Cr. }Jo. 20-00136 JMS          2
